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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA ex. rel.
 YOASH GOHIL,

                             Plaintiff/Relator,
                                                       No. 02-cv-2964
        vs.

 SANOFI U.S. SERVICES INC., et al.

                                  Defendants.


                 JOINT NOTICE OF STIPULATION AND CONSENT TO
                VOLUNTARY DISMISSAL OF RELATOR’S CIVIL ACTION

       On or about May 17, 2002, Relator Yoash Gohil (“Relator”) filed a qui tam complaint on

behalf of the United States styled United States ex rel. Yoash Gohil v. Aventis Pharmaceuticals,

Inc. et al., 02-cv-2964 (E.D.Pa.), alleging violations of the False Claims Act, 31 U.S.C. §§ 3729-

3733. The complaint was amended on or about July 23, 2002 (“First Amended Complaint”), on

or about February 9, 2007, and on or about May 13, 2015 (the original complaint and all

amendments thereto are collectively referred to herein as the “Civil Action”). The United States

declined to intervene in Relator’s First Amended Complaint and, to date, has not intervened in the

Civil Action.

       Relator now seeks the voluntary dismissal of any and all claims stemming from allegations

in the Civil Action, including but not limited to Relator’s claim for reasonable Attorneys’ Fees and

Costs. Relator and Defendants Sanofi U.S. Services, Inc., Aventis, Inc. and Aventisub, LLC

(collectively, “Aventis” or the “Company”) hereby stipulate that the Civil Action and all claims

brought therein should be dismissed with prejudice as to Relator pursuant to Federal Rule of Civil

Procedure 41(a)(1) and without prejudice to the United States. Except as otherwise agreed in the




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written agreement resolving Relator’s claim for reasonable attorneys’ fees and costs under 31

U.S.C. §3730(d), each party shall bear its own costs.

       A proposed order accompanies this Joint Notice of Stipulation and Consent.



Respectfully submitted,


/s/ Richard L. Scheff                                     /s/ Stephen M. Orlofsky
Richard L. Scheff, Esquire                                Stephen M. Orlofsky, Esquire
Armstrong Teasdale                                        Blank Rome, LLP

Counsel for Defendants                                    Counsel for Plaintiff/Relator
Sanofi U.S. Services, Inc.,                               Yoash Gohil
Aventis, Inc., and AventiSub LLC




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA ex. rel.
 YOASH GOHIL,

                              Plaintiff/Relator,
                                                       No. 02-cv-2964
           vs.

 SANOFI U.S. SERVICES INC., et al.

                                   Defendants.


                                     ORDER OF DISMISAL

          Pursuant to Federal Rule of Procedure 41(a), Relator Yoash Gohil (“Relator”) and

Defendants Sanofi U.S. Services, Inc., Aventis, Inc. and Aventisub, LLC (collectively,

“Aventis”) filed a Joint Notice of Stipulation and Consent to Voluntary Dismissal of Relator’s

Civil Action. Upon due consideration of the Stipulation and the other papers on file in this

action,

          IT IS HEREBY ORDERED that any and all claims asserted by Relator against Aventis

shall be dismissed with prejudice as to Relator and shall be dismissed without prejudice as to the

United States.


Date:
                                                             ANITA B. BRODY, J.




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